                 Case 1:14-cr-00141-LJO-BAM
                                IN THE UNITED Document 77 FiledCOURT
                                              STATES DISTRICT   08/05/15 Page 1 of 1
                                             EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                                Plaintiff,

                        v.                                CR NO: 1:14-CR-00141 AWI-BAM (002)

VERONDA CREASY

                               Defendant.


                                  APPLICATION FOR WRIT OF HABEAS CORPUS
               The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                          ☒ Ad Prosequendum                                   ☐ Ad Testificandum
Name of Detainee:      VERONDA CREASY
Detained at            Fresno County Jail
Detainee is:           a.)    ☒ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                                charging detainee with:
                  or   b.)    ☐ a witness not otherwise available by ordinary process of the Court

Detainee will:         a.)      ☒ return to the custody of detaining facility upon termination of proceedings
                  or   b.)      ☐ be retained in federal custody until final disposition of federal charges, as a sentence
                                 is currently being served at the detaining facility

               Appearance is necessary on August 10, 2015, at 1:00 p.m. in the Eastern District of California.

                       Signature:                               /s/ Melanie L. Alsworth
                       Printed Name & Phone No:                 MELANIE L. ALSWORTH
                       Attorney of Record for:                  United States of America

                                             WRIT OF HABEAS CORPUS
                             ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, on August 10, 2015, at 1:00 p.m. , and any further
proceedings to be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named
custodian.
Dated:      August 4, 2015                                 /s/   Barbara A. McAuliffe
                                                           Honorable Barbara A. McAuliffe
                                                           U.S. MAGISTRATE JUDGE

Please provide the following, if known:
AKA(s) (if                                                                                 ☐Male      ☒Female
Booking or CDC #:       1524273                                                            DOB:
Facility Address:       1255 M Street, Fresno, CA                                          Race:
Facility Phone:         (559) 457-6358                                                     FBI#:
Currently

                                                   RETURN OF SERVICE
Executed on:
                                                             (signature)
